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                           UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF LOUISIANA

IN RE: DAVID EDWIN EDWARDS                                           CASE NO. 20-10285
       LAURA LINCECUM EDWARDS
            DEBTORS                                                  CHAPTER 7




                                              ORDER

          CONSIDERING the Trustee’s Application to Employ BK Global Real Estate Services,

LLC, to aid Realtor, Alvin Washington with Alvin Washington Realty, to sell real estate of the

estate,

          IT IS ORDERED that BK Global Real Estate Services, LLC, is authorized to aid Realtor,

Alvin Washington with Alvin Washington Realty, to procure a sale of property located at 18417

East Village Way, Baton Rouge, Louisiana 70816, and is authorized to act on behalf of the estate

to sell the estate’s real estate for an aggregate shared fee of six percent (6%) of the sales price to

be fixed upon application hereafter.

          Baton Rouge, Louisiana, July 6, 2020.

                                    s/ Douglas D. Dodd
                                   DOUGLAS D. DODD
                           UNITED STATES BANKRUPTCY JUDGE
